Case 2:19-cv-00159-HYJ-MV ECF No. 34-2, PageID.128 Filed 10/02/20 Page 1 of 10




                             EXHIBIT 2
      (Defendants’ Brief in Support of Motion for Summary Judgment)
   FOPD -Case
          FORS2:19-cv-00159-HYJ-MV
               YTH POLICE          ECF No. 34-2, PageID.129 Filed Case
                                                                   10/02/20      Page 2 of 10
                                                                       No. 1984100075
   DEPARTMENT                                                    Case Status Arrest
  Case Report                                                                                Report Date/Time: 3/22/2019 9:39:48 PM
                                                                                             Reporting Officer: Wonch, Justin


  FILE CLASS/OFFENSE:
  13001 - Assault and Battery/Simple Assault
  48000 - Resisting Officer
  NATURE OF INCIDENT:
  13 13 - 13001 - Assault and Battery/Simple Assault/ DV/ HILL Vs. Lara/
                                                                         WONCH
 OCCURRED ON:                  3/22/2019 9:39:48 PM
 (and Between)

  VENUE:427 Liberator Gwinnn, MI 49841
  CITY/TOWNSHIP:05 - Forsyth Twp, Marquette

  VICTIM: Lara, Vickie Lynn                                 VICTIM OF: 1313 - 13001 - Assault and Battery/Simple Assault
                                                           VICTIM TYPE: Individual
                                                  DOB:4/13/1962                    AGE: 56
 RACE: White                                      SEX: Female                      JUV: N - No
 HGT: 5' 5"                                       WGT:240                          HAIR: Black
 EYES: Brown                                      ETH:                             Circumstances:
 SSN:                                             DLN: L600847564288               DL State: Michigan
 ADDRESS INFORMATION:
  H - Home:427 Liberator Gwinn, MI MARQUETTE DF - DISTRITO
                                                            FEDERAL(MEXICO. D. F.)
 Phone Information:                                   Emails:
  H - Home:(906) 346-2055
 NOTES:
 VICTIM: Normand, Timothy Edward                           VICTIM OF: 1313 - 13001 - Assault and Battery/Simple Assault
                                                           VICTIM TYPE: Individual
                                                 DOB: 10/16/1964                  AGE:54
RACE: White                                      SEX: Male                        JUV: N - No
HGT: 5' 5"                                       WGT: 125                         HAIR: Brown
EYES: Brown                                      ETH:                             Circumstances:
SSN:                                             DLN: N655793189757               DL State: Michigan
ADDRESS INFORMATION:
 O - Other:463 Mustang St Gwinn, MI 49841 Marquette
 O - Other:83 N Mitchell Gwinn, MI 49841 Marquette US - UNITE
                                                              D STATES 3/22/2019
 H - Home:415 Norwood St Marquette, MI 49855 Marquette
Phone Information:                                        Emails:
 M - Mobile:(906) 361-2827
 M - Mobile:(906) 361-2025
 M - Mobile:(906) 236-0342
NOTES:


ARRESTEE: Hill, Richard Jack                               ARRESTED FOR: 4801 - 48000 - Resisting Officer
                                                           1313 - 13001 - Assault and Battery/Simple Assault
JUV: N - No                                                ARREST NO:0000540
DOB: 9/22/1950                                             TYPE: On-View Arrest
AGE:68                                                     DATE: 3/22/2019
SEX: Male
RACE: White
HGT: 5' 7"                                       WGT:250                            HAIR: Brown
Case Report   Reporting Officer: Wonch, Justin
Page 1 Of9    Case No. 1984100075                                                                          Printed: August 16.2019 - 7:32
                                                                                                           AM
  FOPD -Case 2:19-cv-00159-HYJ-MV
         FORSY  TH POLICE         ECF No. 34-2, PageID.130 Filed 10/02/20 Page 3 of 10
                                                                Case No. 1984100075
  DEPARTMENT                                                    Report Date/Time: 3/22/201                      9 9:39:48 PM
  Case Report                                                                      Reporting Officer: Wonch, Justin
                                                           841




  EYES:                                          ETH:                       Circumstances:
  SMT:
  SSN:                                           DLN:                       DL State:
  ADDRESS INFORMATION:
  H - Home: 427 Liberator Gwinn, MI 49841 MARQUETTE US - UNITED
                                                                     STATES
  H - Home: 403 N Main St # 2 Ishpeming, MI 49849 Marquette US - UNITED
                                                                        STATES
 Phone Information:                                         Emails:

 NOTES:




Case Report   Reporting Officer: Wench, Justin
Page 2 of9    Case No. 1984100075                                                                    Printed: August 16, 2019 - 7:32
                                                                                                     AM
  FOPD -Case
         FORS2:19-cv-00159-HYJ-MV
              YTH POLICE          ECF No. 34-2, PageID.131 Filed 10/02/20 Page 4 of 10
                                                                Case No. 1984100075
  DEPARTMENT                                                    Report Date/Time                                      : 3/22/2019 9:39:48 PM
  Case Report                                                                                        Reporting Officer: Wonch, Justin




  NARRATIVE:
  fopd-43185 - Wonch, Justin
  3/23/2019 12:19:51 AM
  INFORMATION:

  On 03/22/2019 at 2139 hrs, 1 was dispatched to 427 Liberator Street for a possible
                                                                                     domestic violence offense. I made contact with all
  involved. Richard Jack I fill was subsequently arrested for Domestic Violence
                                                                                . He was transported to the Marquette County Jail where he
  was lodged without incident. The following information was obtained.

 RELATIONSHIP:

 Richard Jack Hill and Vickie Lynn Lara have been in a dating relationship
                                                                           for many years, they currently reside together at 427 Liberator
 Street. Gwinn MI.

 CONTACT VICTIM: Vickie Lynn Lara

 [ made contact with Vickie in the living room of her residence located
                                                                        at 427 Liberator. She was upset. Vickie complained of head pain
 where she was struck by Richard Hill. Vickie also had a bruise on her arm.
                                                                              She stated the bruise was from the day before and was caused
 by Richard Hill. Vickie stated the following.

   Vickie and Richard were having an argument because she wanted the garage
                                                                                   keys so she could get the car from the garage and leave.
   Richard would not give her the keys.
 - Vickie stated she was in the living room near the rocking chair and Richard
                                                                                 punched her in the side of the head.
 - Vickie said that Timothy whom was visiting_ pulled Richard off of her.
 - Vickie said that Richard then punched Timothy in the face.
   Vickie said that Richard took the phone from her.
   Vickie said that there has been past domestic violence where she was assaulte
                                                                                   d by Richard.
   She stated that on the day prior to this incident she was assaulted by Richard.
   Vickie stated that there is documented domestic violence where Richard
                                                                              attacked her with a bat.
   Vickie said that she is scared of Richard.

INJURIES TO VICTIM: Vickie Lynn Lara

There was a large bruise on Vickie's left arm from the incident on the day
                                                                           prior. She complained of soreness on the left side of her head
where she was punched on this date. There was not sign of injuries, but
                                                                         the area where she was complaining of pain on her head was under
her hair. Vickie was seen by UP Health System Marquette EMS and
                                                                      Forsyth Township EMS. Vickie denied medical treatment. Vickie's
injuries were captured on my Body Camera.

CONTACT VICTIM / WITNESS: Timothy Edward Normand

I made contact with Timothy in the living room of427 Liberator. He witnesse
                                                                            d the assault on Vickie Lara and was also assaulted by
Richard Hill. Timothy stated the following in regards to the incident.

  Timothy was sitting on a couch in the living room.
- Richard and Vickie were arguing about the garage keys.
- Timothy witnessed Richard punch Vickie in the head.
- Timothy then separated Richard and Vickie.
  Richard then punched Timothy in the face multiple times.
- Timothy stated that Richard also had him by the neck "he choked me".
- Timothy said that he was elbowing Richard in the ribs in an attempt to
                                                                         get him off of him.
- Timothy separated himself from Richard then hit him twice and Richard
                                                                           went down to the ground.
- Timothy said everything calmed down after that.
- Timothy did not witness Richard take the phone from Vickie.


Case Report    Reporting Officer: Wonch, Justin
Page 3 of9     Case No. 1984100075                                                                                  Printed: August 16. 2019 - 7:32
                                                                                                                    AM
  FOPD -Case
        FORSY2:19-cv-00159-HYJ-MV
                TH POLICE         ECF No. 34-2, PageID.132 Filed 10/02/20 Page 5 of 10
                                                                Case No. 1984100075
  DEPARTMENT                                                    Report DateiTime: 3/22/201                                       9 9:39:48 PM
  Case Report                                                          ,Pane                        Reporting Officer: Wonch, Justin
                                                                        841 •




  INJURIES TO VICTIM: Timothy Edward Normand

  Timothy had no apparent injuries. He was not treated by EMS.

 CONTAC SUSPECT: Richard Jack Hill

 I made contact with Richard Hill in the living room of his residence located
                                                                              at 427 Liberator. He was highly intoxicated and aggressive. He
 stated the following.

 - Richard denied that anything happened and denied hitting Vickie and Timothy
                                                                               .
 - Richard did not have any further information to give.

 THE ARREST: Richard Jack Hill

  I informed Richard that he was under arrest for Domestic Violence. He
                                                                           was not compliant. I tried to reason with Richard and he stated he
  was not going to be arrested. Richard stood up aggressively and stated that
                                                                               I was not going to arrest him. He got upset and charged after
 Vicki and Timothy. Richard was pushing through a living room couch in
                                                                            an attempt to get at Vicki and Timothy. I grabbed Richard by the
 jacket collar and assisted him to the ground. I had Richard's left arm while
                                                                               he was face down on the floor. I was instructing Richard to give
 me his other arm. Richard was not complying. I gave Richard several knee
                                                                                strikes toward the hip / waist area in an attempt to gain
 compliance. Richard finally complied and he was cuffed behind his back.
                                                                              I attempted to help Richard from the floor to bring him to the
 patrol car. Richard refused to stand or walk. 1 drug Richard out of the residenc
                                                                                   e by his coat collar. UP Health Systems EMS helped me get
 Richard into the rear seat of the patrol vehicle.

 Preliminary Breath Test(PBT):

Richard was given a PBT to make sure he was below the limit of.30 to be
                                                                        lodged at the Marquette County Jail. The result of the PBT was
.214


EVIDENCE:

The incident was captured on body camera and the injuries were also captured
                                                                             by body camera. The body camera footage will be forwarded
with this report.

CHARGE:

750.812 - Assault/ Domestic Violence
750.81- Assault
750.81d - Resist and Obstruct a Police Officer

CRIMINAL HISTORY:

Richard Jack Hill shows one prior domestic violence on his criminal history.
                                                                             His CCH will be forwarded with this report
STATUS:

Closed

Respectfully,



Justin T. Wonch, Police Officer


Case Report     Reporting Officer: Wonch. Justin
Page 4 of9      Case No. 1984100075                                                                                  Printed: August 16, 2019 - 7:32
                                                                                                                     AM
  FOPD -Case 2:19-cv-00159-HYJ-MV
         FOR$Y  TH POLICE         ECF No. 34-2, PageID.133 Filed 10/02/20 Page 6 of 10
                                                                 Case No. 1984100075
  DEPARTMENT                                                     Report Date/Time: 3/22/201       9 9:39:48 PM
  Case Report                                                        Reporting Officer: Wonch, Justin



  Forsyth Township Police Department




Case Report   Reporting Officer: Wonch. Justin
Page 5 of9    Case No. 1984100075                                                      Printed: August 16, 2019 - 7:32
                                                                                       AM
  FOPD -Case
         FORS2:19-cv-00159-HYJ-MV
              YTH POLICE          ECF No. 34-2, PageID.134 Filed 10/02/20 Page 7 of 10
                                                                Case No. 1984100075
  DEPARTMENT                                                    Report Date/Time:                                   3/22/2019 9:39:48 PM
  Case Report                                                                                     Reporting Officer: Wonch, Justin




 NARRATIVE:
 fopd-36978 - Kjellin, Brian
 3/25/2019 11:14:52 AM
 SUPPLEMENTAL REPORT - D/Sgt Brian Kjellin

 - Follow up Interview -(Victim) Vicky LARA
 - Follow up Interview -(Witness) Timothy NORMAN


 INFORMATION:

 On this date, I made contact with Vicky LARA and Timothy NORMA
                                                                     N at 427 Liberator St, LARA's residence. I asked LARA and
 NORMAN if I could speak with them further about the incident that occurred
                                                                            between HILL and LARA on Friday,03/22/2019. Both LARA
 and NORMAN agreed to speak with me.

 My interview with both LARA and NORMAN was completed with the
                                                                         use of my body camera and digital recording device. I first
 interviewed LARA_ and asked NORMAN if he would be willing,
                                                                   to go upstairs so I could interview them independently. NORMAN agreed
 and left the room. Present during the interview was a friend of LARA's.
                                                                           Orin.
 FOLLOW UP INTERVIEW -(Victim) Vicky LARA:

I spoke with LARA at her residence, she was sitting in a desk office chair
                                                                           in the living room. I asked LARA if she could explain to me the
events of Friday 03/22/2019 going back before 9-1-1 was called. I
                                                                     asked LARA how she was doina. LARA stated, not very good. LARA
stated that most of that day HILL had been drinking_ heavily. LARA explaine
                                                                              d to me that she had found several little vodka bottles around
the house. I asked if HILL had been using anything else. LARA stated just
                                                                             his prescription medications and marijuana. LARA stated that
she and HILL had been in a verbal argument over a few thinas. LARA
                                                                       stated that they were arguing over rent and that HILL had threatened
to move out and go live with his son.

LARA stated that she told HILL not to threaten her, and that she would help
                                                                            him pack. LARA stated that HILL wanted her to go to the
Shopette and purchase him (HILL) a large bottle of Vodka. LARA told
                                                                        me that she would not do that as she was using a walker to get
around. LARA stated that this upset H[LL. I asked LARA what led up
                                                                        to HILL assaulting her, LARA stated, because I told him no.
LARA stated that HILL repeatedly told LARA,"I told you to go get it",
                                                                       in which LARA responded to HILL telling him she was not, and
that she was not going to do it.

I asked LARA where HILL was sitting at that time in the residence, LARA
                                                                           told me that HILL was sitting on the couch in the living room. I
asked LARA where she was sitting, LARA indicated that she had been
                                                                      sitting in the same chair as now (office desk chair). LARA indicated
that NORMAN had been sitting on another couch also in the living room.
                                                                          I asked LARA about the action that occurred, LARA stated that
after several times of telling HILL no, HILL told LARA to go find him
                                                                      a "fucking ride then" and threw some money at her. LARA stated
that that she told HILL to walk to the store himself. I asked LARA what
                                                                        happened next, LARA stated it was like a fuse went off on a bomb,
LARA stated that HILL came at her and "cold cocked" her in the face.
                                                                       LARA stated that HILL hit her with a closed fist and she should
have gone to the hospital.

LARA stated that once HILL struck her, she reacted and HILL asked
                                                                     her what she was going to do about it. LARA stated that she picked up
the home telephone and called 9-1-1. LARA stated that HILL told her(LARA
                                                                              )not to do it. LARA stated that she asked for someone to
come and help her. I asked what happened next, LARA stated that HILL
                                                                         got more "fused up" and came after her more. LARA stated that
NORMAN saw what was happening. LARA stated that NORMAN came
                                                                          across the living room from where he was sitting and grabbed
HILL, picked him up and "doused" on the kitchen floor. LARA stated
                                                                      that HILL was trying to get up and get back at her and NORMAN
was protecting her. I asked LARA to talk to me about that scuffle between
                                                                           HILL and NORMAN, 1 asked LARA how long it lasted, LARA
indicated that it seemed like forever.

LARA stated that it was back and forth. I asked LARA if she saw HILL
                                                                          put NORMAN in a choke hold, LARA then stated that HILL had
her in a "choke hold" where she could not breathe. l asked LARA if she
                                                                          had lost consciousness at all, LARA indicated that she started to.
LARA stated that she felt like she was fainting. I asked if she had urinated
                                                                             when HILL was doing that, LARA stated that she did not. LARA


Case Report    Reporting Officer: Wonch_ Justin
Page 6 of9     Case No. 1984100075                                                                                 Printed: August 16, 2019 - 7:32
                                                                                                                   AM
  FOPD -Case
        FORSY2:19-cv-00159-HYJ-MV
               TH POLICE          ECF No. 34-2, PageID.135 Filed 10/02/20 Page 8 of 10
                                                                Case No. 1984100075
  DEPARTMENT                                                    Report Date/Time: 3/22/2019 9:39:48                                         PM
  Case Report                                                                                      Reporting Officer: Wonch, Justin



 stated that she was collapsing and fainting. I asked LARA to explain to me how HILL
                                                                                         was choking her, LARA stated it was not with his
 hand, she indicated that while in the chair, HILL had his arm around her neck and she
                                                                                       could not breathe. I asked LARA if HILL was saying
 anything to her as this was happening, LARA stated that HILL told her he was going
                                                                                      to hurt her.
 LARA stated that prior to Officer Wonch arriving at the residence, HILL told LARA
                                                                                       that if she was going to put him in jail he was going to
 kill her. I asked LARA if she was in fear for her life. LARA stated that she was
                                                                                  very much in fear for her life. LARA then began to tell me
 that while Officer Wonch was at the residence he had asked to see HILL'S "I.D.". LARA
                                                                                            stated that HILL was refusing to give the
 identification to Officer Wonch and HILL began staring at her with and "evil" look.
                                                                                       LARA stated that HILL got up and came at her in front
 of Officer Wonch. I asked LARA if she felt HILL was being cooperative with Officer
                                                                                         Wonch, LARA stated, no, and told that HILL stated
 that Officer Wonch was not taking him in and not taking him down. LARA stated
                                                                                     that she was in fear for both HILL and Officer Wonch.
 I asked LARA how long she and HILL had been together, LARA stated fifteen years,
                                                                                   and was not sure how long they have been living
 together. I asked LARA about other incidents that have occurred between her and
                                                                                 HILL, LARA stated that there was and she has been
 assaulted by HILL in the past where she did not call 9-1-1.

 FOLLOW UP INTERVIEW -(Witness) Timothy NORMAN:

I asked LARA if she would be willing to go upstairs so I could speak with NORMAN,
                                                                                     LARA stated that she would. I requested that
NORMAN come downstairs and sit in the living room. I asked NORMAN if he could
                                                                                      tell me about the incident that occurred at the
residence the other night. NORMAN indicated that he would. I asked NORMAN to
                                                                                  tell me what was going on prior to 9-1-1 being called
and the police showing up at the residence. NORMAN stated that he came over to the
                                                                                     residence and HILL was in the living room eating.
NORMAN indicated that LARA was sitting in the office (desk) chair also located in
                                                                                  the living room. I asked NORMAN if HILL appeared
to be sober when he(NORMAN)arrived, NORMAN stated, "I have never seen him
                                                                                  (HILL) like that". I asked NORMAN if HILL had
been drinking quite a bit, NORMAN stated, yeah.

 I asked NORMAN on a scale of. been drinking or completely intoxicated where
                                                                              was HILL on that scale. NORMAN indicated that HILL
 was completely intoxicated. I asked NORMAN how long he knew HILL and LARA.
                                                                                   NORMAN stated that he knew them for a few years. I
asked NORMAN that while sitting in the living room if something happened between
                                                                                   HILL and LARA that caused some concem to him
(NORMAN). NORMAN told me that there was some arguing going on over drinking
                                                                                   and HILL wanting LARA to go to the store to get him
more alcohol. I asked NORMAN what happened next, NORMAN stated that HILL
                                                                                 got up, walked around the kitchen, NORMAN stated
that he then saw HILL strike LARA several times with a closed fist. [ asked NORMA
                                                                                   N if he could see where HILL had struck LARA,
NORMAN stated that he saw HILL hit LARA in the head and the side.

I asked NORMAN if he heard HILL saying anything to LARA,NORMAN stated that
                                                                                   he heard HILL say,"You fucking bitch". I asked
NORMAN how long this went on for, NORMAN stated, well I got up and grabbed
                                                                                a hold of HILL. NORMAN stated that he was defending
LARA. I asked NORMAN what happened, NORMAN got up and demonstrated that
                                                                                  he grabbed on to HILL and pushed him against the
wall. NORMAN stated and demonstrated on himself that HILL then struck him
                                                                             in the face with a closed fist and put NORMAN in a type of
"choke hold" I asked NORMAN if he felt he was loosing consciousness or anything
                                                                                 while HILL was choking him, NORMAN indicated
that he had not and could still breathe. NORMAN stated that he then elbowed HILL
                                                                                  in the ribs and HILL let go of him. I asked NORMAN
how many times did he elbow HILL in the ribs, NORMAN stated just once.

I asked NORMAN what happened then, NORMAN stated that he was not sure if HILL
                                                                                      was going after LARA again so NORMAN pushed
HILL into the kitchen NORMAN indicated that they both fell to the kitchen floor, I
                                                                                   asked NORMAN if HILL fell on top of him or did he
land on top of HILL, NORMAN stated that he(NORMAN)landed on top of HILL.
                                                                                    NORMAN stated that HILL calmed down until the
"Cop" got here and told HILL he was under arrest. I asked NORMAN what happene
                                                                                    d next, NORMAN stated that HILL went, "ballistic". I
asked NORMAN if HILL was being cooperative with the Officer(Wonch), NORMA
                                                                                   N stated, "No".
I asked NORMAN if there was any type of action that occurred while Officer Wonch
                                                                                 was there towards LARA, NORMAN stated that HILL
tried to go over the couch at her(LARA). I asked NORMAN if HILL struck or grabbed
                                                                                    LARA at that time, NORMAN indicated that he did
not notice that. NORMAN stated that he moved some chairs out of the way and helped
                                                                                   the Officer with HILL. NORMAN indicated that he
does not like guys that beat up women. I asked NORMAN if there was anything else,
                                                                                  NORMAN stated that HILL should not be drinking.
FURTHER CONTACT -(Victim) Vicky LARA:



Case Report   Reporting Officer: Wonch, Justin
                                                                                                                     Printed: August 16, 2019 - 7:32
Page 7 of9    Case No. 1984100075
                                                                                                                     AM
 FOPD - Case 2:19-cv-00159-HYJ-MV
        FORSYT  H POLICE          ECF No. 34-2, PageID.136 Filed 10/02/20 Page 9 of 10
                                                                Case No. 1984100075
 DEPARTMENT                                                     Report Date/Time: 3/22/2019 9:39:48 PM
 Case Report                                                                                         Reporting Officer: Wonch, Justin



 I asked LARA to come back downstairs, LARA stated that she had put on a tank top so she could show me the
                                                                                                           large bruise on her arm.
 observed a bruise on LARA's left arm near her elbow which was captured on my body camera. I provided LARA
                                                                                                               with some information
 about contacting the Women's Shelter and informed LARA about there office on Sawyer where she could meet
                                                                                                            with them if she desired.
 I asked LARA if she had any marks or injury on her neck area. I did not observe any.

STRANGULATION PROTOCOL:

After meeting with LARA and NORMAN, 1 requested that Cpl Mills return to the residence and go over
                                                                                                      the strangulation protocol questions
with LARA. 1 advised Cpl Mills that during my interview with LARA she had indicated that during the incident
                                                                                                               on 03/22/19, HILL had
strangled her with his arm to the point where LARA indicated she had almost lost consciousness. Cpl Mills
                                                                                                          indicated that he would go and
speak with LARA. (See Cpl Mills interview with LARA).

CONTACT VICTIM — STRANGULATION — Vicky Lara (Cpl MILLS)03/25/2019:

1 was requested by D/Sgt Kjellin to meet with Vicky Lara at her residence to go over the strangulation protocol
                                                                                                                 questions with her. During
Kjellin's follow up interview with Lara she had indicated that when Hill assaulted her. she had been strangled.
                                                                                                                1 obtained the following
strangulation information from Lara. The interview was captured on my body camera.

Lara describes that when she was strangled by Richard Hill. Lara indicated that she was sitting in a computer
                                                                                                               chair facing away from Hill
when he came up behind her. Lara stated that Hill then struck her in the head several times, and put her in
                                                                                                            a choke hold from behind, with
the point of his elbow in the area of her chin and squeezing back toward his body with the hand of that arm
                                                                                                            (Rear Naked Choke). Lara is
unsure how long the strangulation by Hill occurred. but her best guess is around one minute. Lara stated that Hill
                                                                                                                   attempted to strangle her
twice. Lara stated that she was wearing jewelry during the strangulation and it did remain on her body.

Lara stated that her injuries include some difficulty breathing, some pain in the throat, and difficulty talking
                                                                                                                 and swallowing. Lara stated
that her voice has changed slightly since Hill strangled her. Lara stated that she is coughing up Phlegm as a result of the
                                                                                                                              strangulation with
Hill. Lara goes on to state that she feels dizzy. Lara does not recall whether she lost consciousness, but she does
                                                                                                                      recall feeling very -light"
all over her body and going limp in the seat. Lara stated that she did call 911 twice and that Hill has strangled
                                                                                                                   her before, back in 201 1, here
in Gwinn. Lara stated while Hill strangled her, he stated that he would kill her. Lara stated that Hill was wearing
                                                                                                                       rings during the
strangulation and that he was heavily intoxicated and high on Marijuana


Respectfully,

Brian Kjellin, Detective Sergeant
Forsyth Township Police Department




Case Report     Reporting Officer: Wonch, Justin
                                                                                                                        Printed: August 16, 2019 - 7:32
Page 8 of9      Case No. 1984100075                                                                                     AM
 FOPD -Case 2:19-cv-00159-HYJ-MV
        FORSYTH   POLICE         ECF No. 34-2, PageID.137 Filed 10/02/20 Page 10 of 10
                                                                Case No. 1984100075
 DEPARTMENT                                                     Report Date/Time: 3/22/2019 9:39:48                                PM
 Case Report                                                                               Reporting Officer: Wonch, Justin




 NARRATIVE:
 fopd-36978 - Kjellin, Brian
 3/25/2019 2:25:40 PM
 SUPPLEMENTAL REPORT - D/Sgt Kjellin

- 9-1-1 Recording Obtained

INFORMATION:

On 03/25/2019, I requested the 9-1-1 call in regards to this incident
- At 1430 I received the recording and placed it into FTPD Digital Evidence folder 19-75

Respectfully,

Brian Kjellin, D/Sgt
Forsyth Township Police Department




Case Report     Reporting Officer: Wonch, Justin
                                                                                                              Printed: August 16.2019 - 7:32
Page 9 of9      Case No. 1984100075                                                                           AM
